                Case: 1:20-cv-05206
ILND 450 (Rev. 04/29/2016)                      Document
                           Judgment in a Civil Action      #: 83 Filed: 09/16/22 Page 1 of 1 PageID #:843

                                     IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE
                                        NORTHERN DISTRICT OF ILLINOIS

    Saint Xavier University,

    Plaintiff(s),
                                                                   Case No. 20 cv 5206
    v.                                                             Judge Sharon Johnson Coleman

    Rocco Mossuto,

    Defendant(s).

                                             JUDGMENT IN A CIVIL CASE

Judgment is hereby entered (check appropriate box):

                    in favor of plaintiff(s)
                    and against defendant(s)
                    in the amount of $       ,

                             which     includes       pre–judgment interest.
                                       does not include pre–judgment interest.

            Post-judgment interest accrues on that amount at the rate provided by law from the date of this judgment.

            Plaintiff(s) shall recover costs from defendant(s).


                    in favor of defendant(s) Rocco Mossuto
                    and against plaintiff(s) Saint Xavier University.
.
            Defendant(s) shall recover costs from plaintiff(s).


                    other:

This action was (check one):

         tried by a jury with Judge         presiding, and the jury has rendered a verdict.
         tried by Judge         without a jury and the above decision was reached.
         decided by Judge Coleman on a motion for summary judgment.



Date: 9/16/2022                                               Thomas G. Bruton, Clerk of Court

                                                              Yvette Montanez , Deputy Clerk
